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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

       vs.                                                                    No. CR 07-1244 WJ

DONALD SCOTT TAYLOR and
WILLIAM J. WATSON,

               Defendants.

  MEMORANDUM OPINION AND ORDER DENYING DEFENDANT’S MOTION TO
    DISMISS SPECIAL FINDINGS FROM THE SUPERSEDING INDICTMENT
                               AND
  TO STRIKE THE NOTICE OF INTENT TO SEEK THE DEATH PENALTY AS TO
                              COUNT 4

       THIS MATTER comes before the Court upon Defendant Taylor’s Motion to Dismiss the

“Special Findings” from the Superseding Indictment, and to Strike the Notice of Intent to Seek

the Death Penalty as to Count 4, filed May 4, 2009 (Doc. 267). In this motion, Defendant

argues that the use of a firearm in and of itself cannot legally create a capital crime and a capital

prosecution proceeding in this manner would violate the Fifth and Eighth Amendments. Having

considered the parties’ briefs and the applicable law, I find that Defendant’s motion is not well-

taken and will be denied.

                                            Discussion

       Mr. Taylor is charged with various crimes in the Superseding Indictment: in Count 1

with Violent Crimes in Aid of Racketeering Activity (Conspiracy to Murder Jimmy S. “Bo”

Chunn ), in violation of 18 U.S.C. § 1959(a)(5); in Count 2 with Violent Crimes in Aid of

Racketeering Activity (Murder of Jimmy S. “Bo” Chunn), in violation of 18 U.S.C. § 1959(a)(1)
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and 18 U.S.C. § 2; in Count 3 with Conspiracy to Manufacture 50 Grams and more of

Methamphetamine, in violation of 21 U.S.C. § 846; in Count 4 with Using a Firearm During and

in Relation to a Crime of Violence, in violation of 18 U.S.C. §§ 924(c)(1)(A)(iii),(j)(1) and 18

U.S.C. § 2;1 in Counts 5 and 6 with Felon in Possession of a Firearm, in violation of 18 U.S.C. §

922(g)(1); in Count 7 with Possession of an Unregistered Firearm, in violation of 26 U.S.C. §§

5845(a)(2), 5861(d) and 5871; and in Count 8 with Possession of Stolen Firearms, in violation of

18 U.S.C. § 922 (j) and 924(a)(2). [Doc. 83].

       The Notice of Intent to Seek the Death Penalty against Mr. Taylor identified statutory

threshold findings, statutory aggravating factors, and non-statutory aggravating factors. (Doc.

105). The capital prosecution of Mr. Taylor is based on the statutorily prescribed maximum

punishment of death for Counts Two and Four. In this motion, Defendant takes issue with basing

a capital prosecution solely on the grounds stated in Count 4 because it stems from a violation of

18 U.S.C. §§ 924(c)(1)(A)(iii) and (j)(1), which fail to properly narrow the class of offenders

against whom the death penalty can be sought. Defendant also contends that by creating a

capital offense based on the carrying or using of a firearm during and in relation to a crime of

violence, § 924 unduly infringes on the Second Amendment right to bear arms.

I.     Whether Capital Prosecution Based on Count 4 Violates Eighth Amendment

       Section 924(c)(1)(A)(iii) provides in part that any person who commits a crime of

violence when using or carrying a firearm, if the firearm is discharged, will be sentenced to a

term of imprisonment of not less than 10 years, “in addition to the punishment provided for such

crime of violence.” Section 924(j)(1) provides that a person who, in the course of a violation of



       1
          18 U.S.C. § 2 is the federal aiding and abetting statute which imposes punishment as a
principal on an individual who “aids, abets, counsels, commands, induces or procures” the
commission of an offense.
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subsection (c), murders a person through the use of a firearm, shall “be punished by death or by

imprisonment for any term of years or for life. . . .”

       The Eighth Amendment to the United States Constitution requires that “death penalty

statutes be structured so as to prevent the penalty from being administered in an arbitrary and

unpredictable fashion.” California v. Brown, 479 U.S. 538 (1987), citing Gregg v. Georgia, 428

U.S. 153 (1976) and Furman v. Georgia, 408 U.S. 238 (1972). If a state or the federal

government chooses to enact a death penalty, it must “rationally distinguish between those

individuals for whom death is an appropriate sanction and those for whom it is not.” Spaziano v.

Florida, 468 U.S. 447, 460 (1984).

       In response to the concerns presented in Furman and Gregg, states and the federal

government have adopted various narrowing factors which limit the class of offenders upon

whom the sentencer is authorized to impose the death penalty. Sawyer v. Whitley, 505 U.S. 333,

341-342 (1992) (“Eighth Amendment jurisprudence has required those States imposing capital

punishment to adopt procedural safeguards protecting against arbitrary and capricious

impositions of the death sentence”).

       To pass constitutional muster, a capital sentencing scheme must “genuinely narrow the

class of persons eligible for the death penalty and must reasonably justify the imposition of a

more severe sentence on the defendant compared to others found guilty of murder.” Lowenfield

v. Phelps, 484 U.S. 231, 244 (1988) (citing Zant v. Stephens, 462 U.S. 862, 877 (1983)). This

narrowing may be done by the jury at either the sentencing phase of the trial or the guilt phase.

Tuilaepa v. California, 512 U.S. 967 (1994) (the aggravating circumstance may be contained in

the definition of the crime or in a separate sentencing factor (or in both)(citing Lowenfield, 484

U.S. at 244-46). Further, the aggravating circumstance must meet two requirements: first, the
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circumstance may not apply to every defendant convicted of a murder; and second, it must apply

only to a subclass of defendants convicted of murder. 512 U.S. at 972.

       The Federal Death Penalty Act, 18 U.S.C. § 3591 et seq. (“FDPA”) channels the jury’s

discretion during the penalty phase to ensure that the death penalty is not arbitrarily imposed.

By defining specific crimes as capital offenses (including only treason, espionage, and certain

intentional killings, 18 U.S.C. § 3591), the federal death penalty regime establishes the class of

persons eligible for the death penalty. The narrowing function occurs in the jury’s discretion

during the penalty phase of the trial. United States v. Jones, 132 F.3d 232, 248 (5th Cir. 1998).

The FDPA requires the jury first to find that the defendant had the requisite intent. 18 U.S.C. §

3591. The FDPA further narrows the jury’s discretion with the requirement that the jury find at

least one statutory aggravating factor prior to considering the death penalty. See 18 U.S.C. §

3592(c).2 Thus, the FDPA narrows the jury’s discretion through the findings of intent and

statutory aggravating factors. The use of statutory aggravating factors helps to narrow the class

of death-eligible persons and thereby channels the jury's discretion as required by the

Constitution. See Lowenfield, 484 U.S. at 244.

       Defendant argues that the rarity of the use of the death penalty raises a strong

presumption of arbitrariness, referring to the United States Supreme Court’s opinion in Furman,

408 U.S. at 248 (“It is unfair to inflict unequal penalties on equally guilty parties, or on any

innocent parties, regardless of what the penalty is”). Defendant contends there is a danger in

arbitrarily selecting a defendant for exposure to the penalty of death without an effort to

genuinely narrow the group of murderers for whom that penalty may be exacted, by the use of



       2
         The aggravating factors for homicide are codified at 18 U.S.C. § 3592(c). 18 U.S.C. §
3592(c)(2) describes as an “aggravating factor,” a “[p]revious conviction of violent felony
involving firearm which is punishable by a term of imprisonment of more than one year.
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rational and objective criteria. See McCleskey v. Kemp, 481 U.S. 279, 305 (1987) (“ . . . the

State must establish rational criteria that narrow the decision-maker’s judgment as to whether the

circumstances of a particular defendant’s case meet the threshold”).

       The issue here is whether the death penalty scheme is arbitrary on the basis that the use

of a firearm in and of itself cannot legally create a capital crime. Defendant argues that the

section of the federal death penalty scheme, which bases a capital prosecution solely on the use

of a firearm during a murder, does not meet the standard for narrowing factors required by

Furman and Greg. Defendant urges the court to follow Judge Mukasey’s decision in U.S. v.

Cuff, 38 F.Supp.2d 282 (S.D.N.Y. 1999). In Cuff, Judge Mukasey considered a challenge to a

notice of intent to seek the death penalty that included a non-statutory aggravating factor based

on the use of a firearm during the commission of the offense. Id., at 285-88. Judge Mukasey

struck the non-statutory aggravating factor for use of a firearm in connection with murders under

the FDPA, noting that use of a firearm does not meet the requirements for an aggravating factor

because “it does not make a homicide worse, whether one looks at it from standpoint of the

crime, the victim or the perpetrator.” 38 F. 2d at 288.

       In response, the Government contends that basing a death-penalty prosecution on a

violation of §§ 924(c)(1)(A)(iii) and (j)(1) is constitutional because it adequately narrows the

class of offenders against whom the death penalty can be sought. The Government further

contends that Cuff is irrelevant to the issue to be resolved here. The Court agrees with the

Government’s position.

       Cuff is inapposite and not persuasive. The notice of intent to seek the death penalty in

Cuff was based on use of a firearm as a non-statutory aggravating factor. The holding in that case

was not based on a narrowing argument, but a finding by the court that use of a firearm was not
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“an aggravating factor in the first place.” 38 F.Supp.2d at 288.3 The court’s reasoning is not

applicable here because the Government is not basing its FDPA prosecution solely on use of a

firearm under either § 924(c)(iii) or § 924 (j). Nor is the Government relying on a non-statutory

aggravating factor in an attempt to narrow the group of individuals to narrow the class of

offenders against whom the death penalty can be sought. See U.S. v. McCullah, 76 F.3d 1087,

1106 (10th Cir. 1997) (statutory aggravating factor must be present for a defendant to be

death-eligible, and only then do the non-statutory factors come into play). Only after guilt is

found based on a violation of § 924(j), will the jury be asked to further consider a statutory

aggravating factor based on a previous conviction of a violent felony involving a firearm. See 18

U.S.C. § 3592(c)(2); cmp. McCullah, 76 F.3d at 1107 (use of deadly weapon “may properly be

used as an aggravating factor because this factor genuinely narrows the class of defendants

eligible for the death penalty and aids in individualized sentencing”) (citing Arave v. Creech,

507 U.S. 463, 473-75 (1993) and Tuilaepa v. California, 512 U.S. 967 (1994)). The Court agrees

with the Government’s assessment that use of a firearm in the context of § 924(j) is not an

“aggravating factor,” but an element of the offense. Use of a firearm under 18 U.S.C. § 924(j)

cannot be considered an aggravating factor, because a finding of guilt under § 924(j)(1) renders a

defendant only subject to a possible sentence of the death penalty4 subject to either “death or by

imprisonment for any term of years or for life. . . . .” Moreover, any narrowing effected by the

language in § 924 in the guilt phase is constitutionally permissible. See U.S. v. McCullah, 76


       3
          The court in Cuff noted that the Government’s position was that relying on use of a
firearm as a non-statutory aggravating factor sufficiently narrowed the class of defendants
subject to the death penalty. However, the court found that the argument did “not go far
enough.” 38 F.Supp.2d 288.
       4
         18 U.S.C. § 924(j) provides that “A person who, in the course of a violation of
subsection (c), causes the death of a person through the use of a firearm, shall– (1) if the killing
is a murder. . . , be punished by death or by imprisonment for any term of years or for life. . . .”
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F.3d at 1109 (narrowing function may be performed by jury findings at either the sentencing

phase of the trial or the guilt phase) (citing Lowenfield v. Phelps, 484 U.S. 231, 244-45 (1988)).

        The above distinctions between Cuff and the instant case render Cuff unpersuasive. A

final reason not to follow Cuff is the fact that it is not precedent for this Court. In addition,

Defendant cites to several other cases, two of which are more recent cases from the Southern

District of New York, which held contrary to the court’s conclusion in Cuff. In U.S. v. Williams,

(unpubl. opin.), 2004 WL 2980027 (S.D.N.Y.,2004), the court favored the reasoning in Cuff and

struck the non-statutory firearms factor as an aggravating factor. However, the court came to a

different conclusion regarding the alleged firearms violations based on § 924(j). Defendants in

that case argued that “if it is irrational to utilize possession of a firearm as an aggravating factor,

it is equally (if not more) irrational to create an offense based on the same premise.” At *19.

The court rejected that argument, finding that the logic relied on by Cuff “does not apply to

elements of the underlying capital offense because there is no constitutional requirement that

those elements ‘aggravate’ the crime.” Id. A later decision from the Southern District of New

York also rejected the Cuff logic when applied to the aggravating factors relating to § 924, for

the same reasons. See, U.S. v. Barnes, 532 F.Supp.2d 625 (S.D.N.Y. 2008).

        The Government points to a District of Kansas case which I find to be persuasive. In

U.S. v. Nguyen, 928 F.Supp. 1525 (D.Kan.,1996), the court rejected defendant’s argument for

exactly same reasons as this court rejects Defendant’s argument in this case. The defendant in

Nguyen argued that §924(c) qualifies as a “built-in aggravating circumstance” and as such, fails

the constitutional “narrowing” requirement under Zant. Defendant argued that there was

nothing about the nature of firearms or the way that they inflict death that justified singling out

firearm murders for the death penalty. The Government responded (as it does here) that use of a
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firearm in the § 924 provisions is not a statutory aggravating factor. Rather, the statutory

aggravating factors are codified at 18 U.S.C. § 3592(c). Before the death penalty may be

imposed, a jury must not only convict under the relevant § 924 provision, but in addition, must

find the presence of at least one of the listed statutory aggravating factors. The court in Nguyen

noted that there was “nothing in the statute itself indicating that Congress intended use of a

firearm to be an aggravating factor in § 924(i)(1). Rather, the statute simply states one

death-eligible form of murder.” Id. at 1533 (further noting that “an aggravating circumstance

may be contained in the definition of the crime or in a separate sentencing factor (or in both)”

(citing Tuilaepa v. California, 512 U.S. 967, ----, 114 S.Ct. 2630, 2635 (1994). The court further

reasoned:

       Even if the court were to accept [defendant’s] argument (which it does not) that
       the use of a firearm constitutes a “built-in aggravating factor,” this does not
       appear to run afoul of the Constitution. The purpose of aggravating factors-to
       narrow the class of death-eligible persons-may be accomplished at the guilt, as
       well as the sentencing, phase of trial. Lowenfield v. Phelps, 484 U.S. 231, 244-45
       (1988). Even if Congress’ purpose was to narrow death-eligible murders to those
       committed with firearms, the court perceives no reason why this purpose is
       constitutionally infirm, nor has [defendant] cited any authority suggesting that it
       would be.


928 F.Supp. at 1533.

       For the above reasons, I will deny Defendant’s request to strike the Notice of Intent to

seek the death penalty as to Count 4.

II.    Whether Capital Prosecution Based on Count 4 Violates Second Amendment

       Defendant asserts that the Second Amendment bars seeking the death penalty based on §

924, relying on the United States Supreme Court’s decision in District of Columbia v. Heller,

128 S. Ct. 2783 (2008). In that case, the Supreme Court held that the Second Amendment

conferred an individual right to keep and bear arms. Id. at 2813. Defendant’s position on this
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issue holds no weight.

       First, Defendant fails to make a connection between the Heller holding and §

924(c)(1)(A)(iii) or (j)(1), which creates consequences for certain criminal uses for those arms.

Heller considered the constitutionality of a statute that prohibited all possession of handguns by

the public. Id. at 2788. The Heller court, however, stated that it did “not read the Second

Amendment to protect the right of citizens to carry arms for any sort of confrontation.” Id. at

2799 (emphasis in original). The constitutionality of the firearm statutes have been upheld in

cases following the Supreme Court’s decision in Heller. See, e.g., U.S. v. Jackson, 555 F.3d

635, 636 (7th Cir. 2009) (“The Constitution does not give anyone the right to be armed while

committing a felony, or even to have guns in the next room for emergency use should suppliers,

customers, or the police threaten a dealer’s stash.”); United States v. Ross, 2009 WL 1111544, p.

2 (3d Cir. 2009) (not selected for publication) (“Nothing in Heller supports Ross’s challenge to

the constitutionality of a statute criminalizing the possession of a machine gun.”); United States

v. Frazier, 2008 WL 4949153, p. 5 (6th Cir. 2008) (not selected for publication) (“[N]othing in

[the] opinion should be taken to cast doubt on longstanding prohibitions on the possession of

firearms by felons.” (quoting Heller, 128 S.Ct. At 2816-17)).

       Further, and more to the point, at least one district court has upheld the constitutionality

of § 924(c) and § 924(j) in the context of a capital prosecution following the decision in Heller.

See United States v. Williams, (unpubl. opin.) 2008 WL 4644830, p. 9 (C.D.Ca. 2008) (“The

Second Amendment right to bear arms, as decided by the recent Supreme Court case Heller v.

United States, does not make 18 U.S.C. §§ 924(c), (j) unconstitutional because §§ 924(c) and (j)

constitute reasonable limitations on Defendant’s Second Amendment rights.”).

       Accordingly, the Court rejects Defendant’s argument that the Second Amendment bars
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seeking the death penalty based on § 924.

                                            Conclusion

         In sum, the Court denies Defendant’s Motion to Dismiss the “Special Findings” from the

Superseding Indictment, and to Strike the Notice of Intent to Seek the Death Penalty as to Count

4, filed May 4, 2009 (Doc. 267) on both of the grounds raised in the motion. The Court rejects

Defendant’s contention that 18 U.S.C. §§ 924(c)(1)(A)(iii) and (j)(1) cannot be used as a basis

for prosecution under the FDPA because the provisions fail to properly narrow the class of

offenders against whom the death penalty can be sought. The Court also rejects Defendant’s

argument that § 924 unduly infringes on the Second Amendment right to bear arms.

         THEREFORE,

         IT IS ORDERED that Defendant Taylor’s Motion to Dismiss the “Special Findings”

from the Superseding Indictment, and to Strike the Notice of Intent to Seek the Death Penalty as

to Count 4 (Doc. 267) is DENIED for reasons described in this Memorandum Opinion and

Order.


                                             UNITED STATES DISTRICT JUDGE
